Case 1:25-cr-20081-CMA Document 1 Entered on FLSD Docket 02/26/2025 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              25-CR-20081-ALTONAGA/REID
                                CASE NO. - - - - - -- --

  IN THE MATTER OF A SEALED                                                                 BM
  INDICTMENT
  - - - - - - - - -- - - - --------'/                                              Feb 25, 2025
                                       MOTION TO SEAL
                                                                                               MIAMI


         COMES NOW, the United States of America, by and through its undersigned Assistant

  United States Attorney, and respectfully requests that the Indictment, Arrest Warrant, this Motion

  to Seal, and any resulting Order be SEALED until the arrest of the defendant, excepting the United

  States Attorney ' s Office and law enforcement personnel, which may obtain copies of any of the

 foregoing documents or other sealed documents for purposes of executing the Arrest Warrant, for

 the reason that the integrity of the ongoing investigation might be compromised and subjects of

 the investigation flee or destroy evidence should knowledge of this Indictment and Arrest Warrant

  become public.

                                                      Respectfully submitted,

                                                      HAYDEN P. O' BYRNE
                                                      UNITED STATES ATTORNEY


                                               By:
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